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                                All information presented today is


                          CONFIDENTIAL
                              No sharing the contents of this meeting




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                                                           CONNECT YOU
                                                           WITH OTHERS




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                                                               GIVE YOU
                                                           SUPERPOWERS




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  - As you can see, we're a very global team distributed across more than a dozen offices around the world
  - Some of our big offices include: MTV for Gmail and Work, and NYC and BLD for Docs & Drive, Zurich for Calendar,
  Sydney for Drive, etc




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                   Gmail, lnbox & Calendar         Drive, Editors, Sites & Keep            EDU/ Work




                    M Ii



  - 3 broad areas:
  1. Communication and managing your time (like Gmail , Calendar, etc)
  2. Collaboration. People are increasingly working together with others (Drive & editors like Docs, Sheets, Slides, and
  Sites)
  3. Work. The notion of sitting behind a desk is becoming a thing of the past (Dasher platfonn, we launched Drive for Work
  at 1/0 last year and that effort has been very successful. This year Apps for Work is a huge focus)




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                                      Gmail: Simplified, Integrated lnbox




                                                    M
                                                   975M+
                                                      (30 DA Gmail users)




  - Gmail #1 in the industry, over half a billion users - confidentially, we've crossed 975M 30DA
  - When we first launched Gmail it was on April fools day and people thought we were joking - especially considering 2-
  4MB was the max storage available at the time before Gmail launched with 1GB - a 250-500x improvement!
  - We want to grow Gmail to 1B 30DA users this year.




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                         Drive & Docs Platform                          Docs Editors




                             374M+
                               (28DA Drive users)
                                                                     163M+
                                                                   (28DA Docs Editors users)




  - We launched Drive to give users one place to store and create files in the cloud
  - We have more than 374M 28DA users on Drive and more than 163M 28DA users on Docs - confidential!
  - Users have unified storage across Drive, Gmail and Google+ photos which makes things much easier and more intuitive
  for consumers - they don't need to worry about how their storage is allocated across products




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                                            Growth in Paid Apps Users




                                                    23M+
                                                  (300A Paid Apps users)




  - Every day, thousands of businesses small and large are going Google and switching to Google Apps to run their
  companies in the cloud.
  - Companies like Costco, Kohl's, HP, and recently PWC
  - Governments and Schools are also moving to Google Apps in a big way (the city of Boston).




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                                           How Things Get Done - Triad


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  - We should work as a triad and have sort of a mind-meld among the leads - PM, UX, and Eng - each advocating for each
  other and understanding the needs and challenges of each group so they can represent well in review mtgs, etc.

  - It's also critical to know the product, understand the competition and the industry - and most importantly, we need to
  know the user, their needs and what problems they don't even recognize yet




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            2015 Key Goals

                         M
                  1B Gmail users with
                                                                                II
                                                                 35M using Google app to access Calendar
                    1OOM on lnbox


                                                 500M users
                                            Top 12 user experiences

                      200M users
                                                                            Identity management
               Office fidelity: non-issue
                                                                            New revenue streams
                      Atari launch




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  This year we set out a few key themes that should guide the work we do in apps. They include ...




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                                     Intelligence

                              Performance & Quality

                                       Revenue




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                                                    Intelligence




  Let's talk about Intelligence first.

  - A lot of the work that our users do in our apps is still just work ....
  - Apps that are "intelligent" should behave like personal assistants, and make our users more productive and more
  capable
  - They should remove the mundane, and eliminate non-creative work
  - You are a huge part of this




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                 Research (Docs)


                                                    SAN FRANCISCO
                                                    VACATION




  For example,

  With Research Assistant, we want to help students make better documents faster by keeping them in Kix while
  paraphrasing, referencing, and inserting.

  This reduces steps and frequent context switching, letting students focus on the research and the writing.




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               Quick Reply (lnbox)




  Smart Reply is in dogfood currently - it makes it much easier to respond quickly to emails on mobile by predicting
  common answers based on the context of the message. Tapping is much easier than typing on mobile, and this feature
  makes a huge difference.




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                                            Performance & Quality




  - If users don't trust that our products do what they do quickly, reliably, every time - our users will go somewhere else.
  - Experience with a product isn't based on the average, but the first experience, best experience, worst experience
  - For 2015, we're looking at measuring performance and quality in a few ways .. ..
  OKR of a minimum improvement of 10% each quarter on key metrics that define common user activities, e.g. time to open
  a new document.
  Goals to improve core workflows, for example collecting and sharing photos in Drive
  Investing in multiple efforts to improve things like search quality and autocomplete, which touch all of our Apps.




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                                             Nail the toothbrush journeys



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  Example: inserting a file from Drive into Gmail used to take 11 steps.




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                                                     Reduce Latency
                                                       Docs Android
                                                     Content viewable time
                      10,000             Live data                                                                  Projections
                                                                  ........\ r··············· ....................., ........./-•........., ............... ····················
                       7,500
            Latency                                                                                                      • 90th •                Mean •              50th
             (ms)
                       5,000


                       2,500


                           0
                               Oct'14    Jan'l 5        Apr'l 5                        Jul'15                               Oct'1 5                             Jan'16




  Docs team has been running hard at this issue for multiple quarters; really seeing impressive results
  Docs Android - improvements include JSVM preloading, activity streamlining, deferring noncritical work ➔ 32% drop in
  90% latency (since October of last year)




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                                       Revenue




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                                                      Revenue

                                                                                                          GfW



                                                                                                          Apps




              2004    2005    2006   2007    2008    2009    2010   201 1   2012    2013   2014    2015




  Google for Work started back in 2004 with the GSA, carrying on Google's mission organizing information behind the
  firewall.
  Then there was Earth , Gmail for your Domain which was quickly followed by Apps for Business in 2007.
  Then the whole Enterprise thing, where we expanded to Maps, Cloud and Chromebooks.

  But we thought that Enterprise sounded kind of boring. Like, old work.
  What we were really doing was bringing the best of Google to work. So we renamed the whole thing Google for Work.




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                                     e    What email address would you like to have?

                                                  joe    @




                                          Confirm your domain contact 1nformat1on




  We have a project in the works called Bus -- we want to make it easy for small businesses to upgrade from consumer
  Gmail to Google Apps for Work and get "vanity" domains, so they can better scale and publicize their businesses, and get
  the tools they need to run effectively




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                                     Intelligence

                              Performance & Quality

                                       Revenue




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  In Apps we deal with sensitive user data - let's talk about privacy and user trust.




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  It's our job to be guardians of our users' trust - we must be vigilant for any issues, and it's important to know what to do if
  you see a any potential problems when dealing with user data.

  - We are the data stewards for Consumers, Education, Enterprise and Government.
  - Our Enterprise customers span a variety of industries, including Financial Services and Health Care.
  - We are required to keep strong data protections in place to meet the needs (and contractual requirements) of these
  customers.




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  Take some time to be familiar with the Apps Data Protection requirements. For some high level examples, all user data
  should be encrypted at rest, data recovery should be tested twice a year and we should never store Pl I or user generated
  content in permanent logs. It should go without saying because you are now a Googler, that there are very strict rules
  around data access. We must earn our users' trust every single day and with every action we take.




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                                       If you see a problem:
                                        apps-escalations@




  First, if you see a problem, email apps-escalations@, and copy your manager along with your product's policy counsel.

  If you don't know who your policy counsel is, you can just cc apps-pcounsel@ and the right person will be included.




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                                      Communicate with care:
                                            - lawyer in.''to'; field
                                           ·-mc1rk '(A1forney/Cl_ient Priyileged"
                                            -·askthe lawyer a:questidn-




  If you're dealing with a sensitive issue, it's important to communicate with care over email. You can follow these steps to
  ensure your email communication is privileged in these situations.




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  If you have any questions related to privacy as you are building features or products, please reach out to apps-pwg@ to
  contact the Apps Privacy Working group.




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                                         Making .sure.Apps··
                                      is a •great place to work




  Respect is a huge part of our culture at Google. It's critical that we all help to build and safeguard a community of respect
  within the Apps team.




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                                 Unconscious Bias Training
                                     go/ubselfstudy




  A big part of this is eliminating bias - and the truth is, sometimes bias is unintentional or unconscious. We have a great
  training to help you better understand unconscious bias you might have, and how to be more mindful. Please check out
  the self study- you'll find it's well worth your time.




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